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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13-29279
         Carlos J Ponce
         Susan M Ponce
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 07/23/2013.

         2) The plan was confirmed on 10/11/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 10/06/2016.

         5) The case was dismissed on 02/03/2017.

         6) Number of months from filing to last payment: 39.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $41,436.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor             $26,475.00
         Less amount refunded to debtor                            $0.00

 NET RECEIPTS:                                                                                   $26,475.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $2,031.00
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                      $1,109.16
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $3,140.16

 Attorney fees paid and disclosed by debtor:                $1,750.00


 Scheduled Creditors:
 Creditor                                      Claim         Claim            Claim        Principal      Int.
 Name                                Class   Scheduled      Asserted         Allowed         Paid         Paid
 ASSET ACCEPTANCE CORP           Unsecured            NA         945.57           945.57           0.00       0.00
 BECKET & LEE LLP                Unsecured         604.00        604.03           604.03           0.00       0.00
 CACH LLC                        Unsecured      1,713.00       1,712.73         1,712.73           0.00       0.00
 CAPITAL ONE AUTO FINANCE        Unsecured            NA         335.63           335.63           0.00       0.00
 COMENITY BANK                   Unsecured         503.00        503.78           503.78           0.00       0.00
 COMENITY BANK                   Unsecured         537.00        537.70           537.70           0.00       0.00
 COMENITY BANK                   Unsecured         465.00        465.53           465.53           0.00       0.00
 COMENITY BANK                   Unsecured      1,575.00       1,575.33         1,575.33           0.00       0.00
 COMENITY BANK                   Unsecured      1,074.00       1,074.83         1,074.83           0.00       0.00
 COMENITY BANK                   Unsecured         271.00        271.35           271.35           0.00       0.00
 EDWARD HOSPITAL                 Unsecured         408.00      1,350.00         1,350.00           0.00       0.00
 ILLINOIS BELL TELEPHONE COMPAN Unsecured          255.00        255.25           255.25           0.00       0.00
 MIDLAND FUNDING LLC             Unsecured         947.00        946.76           946.76           0.00       0.00
 NATIONSTAR MORTGAGE LLC         Secured       40,000.00     39,852.66        39,852.66      23,334.84        0.00
 NATIONSTAR MORTGAGE LLC         Secured             0.00          0.00             0.00           0.00       0.00
 ONEMAIN                         Secured             0.00          0.00             0.00           0.00       0.00
 PORTFOLIO RECOVERY ASSOC        Unsecured         480.00        480.43           480.43           0.00       0.00
 PORTFOLIO RECOVERY ASSOC        Unsecured         378.00        375.13           375.13           0.00       0.00
 QUANTUM3 GROUP                  Unsecured         350.00        350.00           350.00           0.00       0.00
 RJM ACQUISITIONS LLC            Unsecured            NA          92.08            92.08           0.00       0.00
 RJM ACQUISITIONS LLC            Unsecured            NA          79.92            79.92           0.00       0.00
 RJM ACQUISITIONS LLC            Unsecured            NA         180.49           180.49           0.00       0.00
 STATE COLLECTION SERVICE SILVER Unsecured          75.00           NA               NA            0.00       0.00
 VISION FINANCIAL SERVICE SILVER Unsecured         100.00           NA               NA            0.00       0.00
 I C SYSTEM INC ZALE FOSTER      Unsecured         407.00           NA               NA            0.00       0.00
 MBB EM STRATEGIES               Unsecured         477.00           NA               NA            0.00       0.00



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 Scheduled Creditors:
 Creditor                                     Claim         Claim         Claim        Principal       Int.
 Name                              Class    Scheduled      Asserted      Allowed         Paid          Paid
 MIRAMEDRG                      Unsecured      1,670.00            NA           NA             0.00        0.00
 MERCHANTS CREDIT GUIDE EDWAR Unsecured           161.00           NA           NA             0.00        0.00
 MERCHANTS CREDIT GUIDE DUPAG Unsecured            50.00           NA           NA             0.00        0.00
 CERTIFIED SERVICES INC OAKBROO Unsecured         103.00           NA           NA             0.00        0.00
 ARMOR SYSTEMS CO EM STRATEGIE Unsecured          217.00           NA           NA             0.00        0.00
 ATG CREDIT NAPERVILLE RADIOLOG Unsecured          42.00           NA           NA             0.00        0.00
 CREDIT PROTECTION ASSO COMCAS Unsecured          148.00           NA           NA             0.00        0.00
 CREDITORS COLLECTION           Unsecured         187.00           NA           NA             0.00        0.00
 CREDITORS DISCOUNT ADV FAMILY Unsecured          327.00           NA           NA             0.00        0.00
 SEVENTH AVENUE                 Unsecured         457.00        457.38       457.38            0.00        0.00
 TD BANK USA NA                 Unsecured            NA         711.70       711.70            0.00        0.00


 Summary of Disbursements to Creditors:
                                                             Claim           Principal                Interest
                                                           Allowed               Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                     $0.00              $0.00                   $0.00
       Mortgage Arrearage                              $39,852.66         $23,334.84                   $0.00
       Debt Secured by Vehicle                              $0.00              $0.00                   $0.00
       All Other Secured                                    $0.00              $0.00                   $0.00
 TOTAL SECURED:                                        $39,852.66         $23,334.84                   $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                           $0.00                 $0.00               $0.00
        Domestic Support Ongoing                             $0.00                 $0.00               $0.00
        All Other Priority                                   $0.00                 $0.00               $0.00
 TOTAL PRIORITY:                                             $0.00                 $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                           $13,305.62                  $0.00               $0.00


 Disbursements:

        Expenses of Administration                           $3,140.16
        Disbursements to Creditors                          $23,334.84

 TOTAL DISBURSEMENTS :                                                                       $26,475.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/06/2017                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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